
673 S.E.2d 364 (2009)
STATE of North Carolina
v.
Larry James ATKINS.
No. 500P08.
Supreme Court of North Carolina.
February 5, 2009.
John Keating Wiles, Raleigh, for Larry James Atkins.
Olga Vysotskaya, Associate Attorney General, C. Branson Vickory, III, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 666 S.E.2d 809.

ORDER
Upon consideration of the petition filed on the 11th day of November 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
